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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE S aN ©

 

FEDERAL EXPRESS CORPORATION,

WESTERN DIVISION Lt a4
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EDWIN SMITH PRESTON, ) o AO
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Plaintiff, ) 20 \"S
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VS. ) Case No. 2:17-02876-JPM-cge iN
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Defendant.
VERDICT FORM
TITLE VII DISCRIMINATION
1. Has Plaintiff Edwin Smith Preston proven by a preponderance of the evidence

that Defendant Federal Express Corporation (‘Federal Express”) discriminated against him
because of his race in violation of Title VII of the Civil Rights Act of 1964 when it issued him a

warning letter and suspended him in October of 2015?

YES No

 

Regardless of your Answer, please answer question No. 2.

2. Has Plaintiff proven by a preponderance of the evidence that Defendant
discriminated against him because of his gender, in violation of Title VII of the Civil Rights Act

of 1964 when it issued him a warning letter and suspended him in October of 2015?

YES NO xX

 
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If your answer to Question No. 1 and/or Question No. 2 is “YES,” then you have
returned a verdict for Plaintiff Preston and against Defendant Federal Express on Plaintiff's
claim for employment discrimination, and you must consider the question of damages and
answer Question No. 3.

If your answer to Question No. 1 and Question No. 2 is “NO", then you have returned a
verdict for Defendant Federal Express and against Plaintiff Preston on Plaintiffs claim for
employment discrimination. You must not answer Question No. 3, but you must still consider

the question of retaliatory termination and MUST go to Question No. 4.

3. Damages for race and/or gender discrimination
3(a). Has Plaintiff proven by a preponderance of the evidence that he suffered lost wages

during his suspension because of Federal Express’s unlawful discrimination?

YES NO

 

If your answer to Question No. 3(a) is “YES”, then under the law as given to you in these
instructions, state the amount of lost wages during his suspension that Plaintiff should be

awarded from Defendant.

AMOUNT: $
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3(b). Has Plaintiff proven by a preponderance of the evidence that he suffered
compensatory damages which were proximately caused by Defendant issuing him a
warning letter and a suspension in October 2015, for which you have already found

Defendant liable?

YES NO

 

If your answer to Question No. 3(b) is “YES”, then under the law as given to you in these

instructions, state the amount you award Plaintiff in compensatory damages.

AMOUNT: $

This completes the section of the verdict form as to alleged discrimination. Go to Question
No. 4.
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TITLE VII RETALIATION
4. Do you find by a preponderance of the evidence that Defendant retaliated against
Plaintiff by terminating him because of his written and/or oral complaints of

discrimination or his oral complaints of retaliation within Federal Express?
YES No _X

If you answered “No” to Question No. 4, then you have returned a verdict for the
Defendant and against the Plaintiff on Plaintiff's claim for employment retaliation. Your
deliberations are concluded and the Foreperson should sign and date the last page of this verdict
form. The Foreperson should then notify the Court Security Officer that you have reached a

verdict.

If you answered “Yes” to Question No. 4, then you have returned a verdict for the
Plaintiff and against the Defendant on Plaintiff's claim for employment retaliation. You must

consider damages and Question No. 5.
5. Damages for retaliation

5(a). Has Plaintiff proven by a preponderance of the evidence that he suffered lost wages

because of Defendant’s unlawful retaliation?

YES NO

 

If your answer to Question No. 5(a) is “YES”, then under the law as given to you in these
instructions, state the amount of lost wages that Plaintiff should be awarded from Defendant. Do

NOT subtract for mitigation at this point.

AMOUNT: $
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If your answer to Question No. 5(a) is “YES”, then please answer Question No. 5(b)
AND Question No. S(c). If your answer to Question No. 5(a) is “No”, then your deliberations
are complete and the Foreperson should sign and date the last page of this verdict form. The

Foreperson should then notify the Court Security Officer that you have reached a verdict.

5(b). Has Defendant proven by a preponderance of the evidence that Plaintiff failed to

mitigate his damages by finding comparable employment?

YES NO

 

If your answer to Question No. 5(b) is “YES”, then under the law as given to you in these
instructions, state the amount that Plaintiff could have earned in a new job. This amount will be

subtracted from the amount of lost wages awarded in question S(a).

AMOUNT: $

Regardless of your answer to Question No. 5(b), proceed to Question No. 5(c).

5(c). Has Plaintiff proven by a preponderance of the evidence that he suffered
compensatory damages which were proximately caused by Defendant terminating him
because of his written and/or oral complaints of discrimination or his oral complaints of

retaliation within Federal Express, for which you have already found Defendant liable?

YES NO

 
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If your answer to Question No. 5(c) is "YES", then under the law as given to you in these

instructions, state the amount you award Plaintiff in compensatory damages.

AMOUNT: $

If you awarded damages to Plaintiff on BOTH his discrimination claim AND his
retaliation claim, you must proceed to Question No. 6.

If you did not award damages on BOTH claims, then your deliberations are
complete. The Foreperson must sign and date this verdict form.

6. What amount of damages awarded for retaliation in Question No. 5, if any, is already
included within any amount of damages that you have previously awarded Plaintiff for

his discrimination claim in Question No. 3?

AMOUNT: $

YOUR DELIBERATIONS ARE COMPLETE. The Foreperson must sign and date this Verdict

Form. Please notify the Court Security Officer that you have reached a verdict.

 
